PENALTY SLIP FILED IN THE

___U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

FCB ft 1 2020

SEAN F. McAVOY, CLERK
. DEPUTY
SPOKANE. WASHINGTON

24 SUPERSEDING INDICTMENT
NAME: DONOVAN QUINN CARTER CLOUD

NUMBER OF COUNTS: 3

Counti: 18 U.S.C. § 2119

Vio: Carjacking

Penalty: Not more than 15 years imprisonment, $250,000 fine, or both, 5 years
supervised release, and $100 special assessment.

Count 3: 18 U.S.C. § 924(c)(1)(a@

Vio: Brandishing of a Firearm in Furtherance of a Crime of Violence

Penalty: Not less than 7 years and a maximum of life imprisonment, $250,000, or
both, 5 years supervised release, and $100 special assessment.

Count 4: 18 U.S.C. §§ 2109, 1153, 3559(f)(2)

Vio: Kidnapping

Penalty: Not less than 25 years and a maximum of life imprisonment, $250,000, or
both, 5 years supervised release, and $100 special assessment.

Case No. 1:19-CR-02032-SMJ-2

USA Initials: TIH/RCB
